       Case 18-13990-JDW                           Doc 29           Filed 07/29/19 Entered 07/29/19 09:40:07                            Desc Main
                                                                    Document     Page 1 of 6
 Fill in this information to identify the case:

  Debtor 1        Kattie Marie Preston

  Debtor 2

 United States Bankruptcy Court for the: Northern District of Mississippi

 Case number :     18-13990-JDW



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                    12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of               Ditech Financial LLC                                                        Court claim no.                                       2
     creditor:                                                                                         (if known):
     Last 4 digits of any number                                                                       Date of payment change:                   09/05/2019
     you use to identify the debtor's                                       7831                       Must be at least 21 days after date of
     account:                                                                                          this notice

                                                                                                       New total payment:                         $676.74
                                                                                                       Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ]    No
      [X]    Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                    Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $0.00                                  New escrow payment: $133.31



Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?
      [X]    No
      [ ]    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If
                    a notice is not attached, explain why:

                      Current interest rate:                                       New interest rate:
                      Current Principal and interest payment:                      New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
      [X]    No
      [ ]    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                    agreement. (Court approval may be required before the payment change can take effect).
                       Reason for change:
                           Current mortgage payment:                                        New mortgage payment:




Official Form 410S1                                                  Notice of Mortgage Payment Change                                              page 1
         Case 18-13990-JDW                            Doc 29      Filed 07/29/19 Entered 07/29/19 09:40:07                           Desc Main
                                                                  Document     Page 2 of 6
Debtor 1 Kattie Marie Preston                                                       Case number (if known)            18-13990-JDW
                First Name              Middle Name          Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:

[ ]      I am the creditor.

[X]      I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


            /s/ Julian Cotton                                                              Date       7/29/2019
    Signature



Print:                       Julian Cotton                                      Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                  Email              bkcrm@padgettlawgroup.com




Official Form 410S1                                                  Notice of Mortgage Payment Change                                           page 2
     Case 18-13990-JDW           Doc 29  Filed 07/29/19 Entered 07/29/19 09:40:07          Desc Main
                                        Document      Page 3 of 6
                              IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                         ABERDEEN DIVISION

IN RE: KATTIE MARIE PRESTON                                             No: 18-13990-JDW
                                                                        CHAPTER 13
                  Debtor(s)
_________________________________________/




                                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

on the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________
                                                                                                  29th day of

July, 2019.



                                                       /S/ Julian Cotton

                                                       ___________________________________
                                                       JULIAN COTTON
                                                       PADGETT LAW GROUP
                                                       6267 Old Water Oak Road, Suite 203
                                                       Tallahassee, FL 32312
                                                       (850) 422-2520 (telephone)
                                                       (850) 422-2567 (facsimile)
                                                       bkcrm@padgettlawgroup.com
                                                       Authorized Agent for Creditor




Official Form 410S1                          Notice of Mortgage Payment Change                         page 3
       Case 18-13990-JDW        Doc 29   Filed 07/29/19 Entered 07/29/19 09:40:07   Desc Main
                                         Document     Page 4 of 6

                               SERVICE LIST (CASE NO. 18-13990-JDW)

Debtor
Kattie Marie Preston
103 North Rd
Holly Springs, MS 38635

Attorney
Robert H. Lomenick, Jr.
P.O. Box 417
Holly Springs, MS 38635

Trustee
Locke D. Barkley
6360 I-55 North
Suite 140
Jackson, MS 39211

US Trustee
U. S. Trustee
501 East Court Street, Suite 6-430
Jackson, MS 39201




Official Form 410S1                      Notice of Mortgage Payment Change                      page 4
Case 18-13990-JDW   Doc 29   Filed 07/29/19 Entered 07/29/19 09:40:07   Desc Main
                             Document     Page 5 of 6
Case 18-13990-JDW   Doc 29   Filed 07/29/19 Entered 07/29/19 09:40:07   Desc Main
                             Document     Page 6 of 6
